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                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

IN RE:                                   :       CHAPTER 11
                                         :
BEAUTIFUL BROWS LLC,                     :       CASE NO. 18-66766-jwc
                                         :
             DEBTOR.                     :

                  APPOINTMENT OF CHAPTER 11 TRUSTEE
                         AND SETTING OF BOND

      Pursuant to the Order of this Court directing the United States Trustee to appoint a

Chapter 11 Trustee (Docket Entry 43), the United States Trustee hereby appoints the

following person Chapter 11 Trustee:

                           S. Gregory Hays, CTP, CIRA
                           Managing Principal
                           Hays Financial Consulting, LLC
                           2964 Peachtree Road, Suite 555
                           Atlanta, GA 30305-2153
                           Office: (404) 926-0051
                           Mobile: (404) 218-1088
                           Website: www.haysconsulting.net

      Bond is hereby fixed in the amount of $20,000.

      This appointment made this 21h day of November, 2018.

                                                 Prepared and Served by:

                                                 DANIEL M. MCDERMOTT
                                                 UNITED STATES TRUSTEE
                                                 Region 21
                                                 /s/ Thomas W. Dworschak
                                                 THOMAS W. DWORSCHAK
                                                 Georgia Bar No. 236380
                                                 United States Department of Justice
                                                 Office of the United States Trustee
                                                 Suite 362, Richard B. Russell Building

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                                                75 Ted Turner Drive, SW
                                                Atlanta, Georgia 30303
                                                (404) 331-4437, ext. 145
                                                Thomas.W.Dworschak@usdoj.gov

                             CERTIFICATE OF SERVICE

      I hereby certify on November 21, 2018, I caused a copy of the attached Appointment

Of Chapter 11 Trustee And Setting Of Bond to be sent by first class United States mail,

properly addressed and with correct postage to the following:


Beautiful Brows, LLC                            American Express
5002 North Royal Atlanta Drive                  AllTran Financial
Suite M                                         Post Office Box 722929
Tucker, Georgia 30084                           Houston, Texas 77272-2929

Jason L. Pettie                                 American Express
Jason L. Pettie, PC                             Zwicker & Associates, PC
Attorney for Debtor                             80 Minute Man Road
Post Office Box 17936                           Andover, MA 01810-1008
Atlanta, Georgia 30316
                                                American Express
Lynn L. Carroll, Esquire                        c/o Becket & Lee LLP
Golder Law, LLC                                 POB 3001
101 Village Parkway, 1-400                      Malvern, Pennsylvania 19355-0701
Marietta, GA 30067-4058
                                                Ameris Bank
S. Gregory Hays, CTP, CIRA                      605 W. Highway 80
Managing Principal                              Pooler, GA 31322-2105
Hays Financial Consulting, LLC
2964 Peachtree Road, Suite 555                  Ameris Bank
Atlanta, GA 30305-2153                          c/o Mark Golder
                                                Golder Law LLC
ARY Investments                                 101 Village Pkwy
304 Kent Valley Circle                          Building 1, Suite 400
Tucker, Georgia 30084-8493                      Marietta, Georgia 30067-4058




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Ascentium Capital                             Caleb T. Holzaepfel
23970 Highway 59N                             Husch Blackwell LLP
Kingwood, Texas 77339-1535                    Suite 300
                                              736 Georgia Avenue
Arbor Place II LLC                            Chattanooga, TN 37402-2059
c/o Scott M. Shaw
835 Georgia Avenue, Suite 800                 Internal Revenue Service
Chattanooga, Tennessee 37402-2225             Post Office Box 7346
                                              Philadelphia, Pennsylvania 19101-7346
Brookfield Property REIT Inc.
Kristen N. Pate                               Kena Patel
350 N. Orleans Street, Suite 300              1455 Satellite Boulevard
Chicago, IL 60654-1607                        Apartment 2207
                                              Suwanee, Georgia 30024-4841
Adam S. Buddenbohn
736 Georgia Avenue                            Thomas J. Kokolis
Suite 300                                     Parker, Simon & Kokolis, LLC
Chattanooga, TN 37402-2059                    Suite 500
                                              110 North Washington Street
DLI Assets Bravo, LLC                         Rockville, MD 20850-2230
c/o Thomas J. Kokolis
110 N. Washington Street                      Kusumben Patel
Suite 500                                     3543 #A Old Chamblee Tucker Road
Rockville, MD 20850-2230                      Doraville, Georgia 30340-4175

FC Marketplace, LLC                           Lenox Square Mall
c/o Potter & Martin, LLP                      Phipps Plaza
3945 Holcomb Bridge road                      ATR Corinth Partners
Suite 300                                     c/o Lisa Harper
Peachtree Corners, Georgia 30092-5200         3340 Peachtree Road, Suite 250
                                              Atlanta, Georgia 30326
FC Marketplace, LLC
c/o Becket and Lee LLP                        Maheswari Gautam
POB 3002                                      5404 Keeport Drive
Malvern, PA 19355-0702                        Apartment 5
                                              Pittsburg, Pennsylvania 15236-3041
First Data Merchant Cash Advance
400 Corral Ridge Drive, MS C-230              Mall of Georgia
Coral Springs, Florida 33065                  c/o Andrew Hazen, Hall Booth Smith PC
Gwinnett Place Mall GA LLC                    191 Peachtree Street, NE
9101 Alta Drive, Suite 1801                   Suite 2900
Las Vegas, Nevada 89145-8546                  Atlanta, GA 30303-1775


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Roy E. Manoll, III                            Riverchase Galleria
Fortson, Bentley & Griffin, P.A.              Lightfoot, Franklin & White
Building 200, Suite 3A                        400 20th Street N
2500 Daniell’s Bridge Road                    Birmingham, Alabama 35203-3200
Athens, GA 30606-6178
                                              Salima Dedani
Minal Patel                                   3186 Yorkleigh Lane
4141 Oxcliff Grove                            Snellville, Georgia 30078-3235
Suwanee, Georgia 30024-6598
                                              Secretary of the Treasury
Mohammad Ali                                  15 th & Pennsylvania Avenue NW
435 Gavenwood Drive                           Washington, DC 20200
Lilburn, Georgia 30047
                                              Shamsur Nahar
Nazur Aktar                                   5885 Princeton Run Trail
5885 Princeton Run Trail                      Tucker, Georgia 30084-8462
Tucker, Georgia 30084-8463
                                              Simon Property Group
Northlake Mall                                Attn: Ronald Tucker, Esquire
ATR Corinth Partners                          225 West Washington Street
c/o Lisa Harper, Esquire                      Indianapolis, IN 46204-3438
3340 Peachtree Road, NE, Suite 250
Atlanta, GA 30326-1045                        Town Center at Cobb
                                              c/o Andrew Hazen
Pareen Patel                                  Hall Booth Smith PC
642 Cobb Parkway South                        191 Peachtree Street Suite 2900
Marietta, GA 30060-9219                       Atlanta, Georgia 30303-1775

Kristen N. Pate                               Ronald M. Tucker
Brookfield Properties                         Simon Property Group, Inc.
Suite 300                                     225 West Washington Street
350 N. Orleans Street                         Indianapolis, IN 46204-3438
Chicago, IL 60654-1607
                                              Vimal Ahuja
Phipps Plaza                                  805 Aberlady Place
c/o Lisa Harper, Esquire                      Birmingham, Alabama 35242-6090
3340 Peachtree Road, NE, Suite 250
Atlanta, GA 30326-1045                        U.S. Securities & Exchange Commission
                                              Office of Reorganization
Quarterspot                                   950 East Pace Ferry Road, NE #900
c/o Simon & Kokolis, LLC                      Atlanta, GA 30326-1382
110 N. Washington Street, Suite 500
Rockville, Maryland 20850-2230                /s Thomas W. Dworschak

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